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                                                                                                   FILED
                                                                                           IN OPEN COURT


                                                                                            NOV 1 4 2017
                               EASTERN DISTRICT OF VIRGINIA
                                                                                     CLERK. U.S. CiSTHICT COURT
                                                                                             NORFOLK, VA
                                          Norfolk Division


UNITED STATES OF AMERICA


               V.                                          Criminal No. 2:17crl5"A


CLAYTON AKEEM PRESSLEY
        a/k/a "Brian Johnson"



                Defendant.


                                       PLEA AGREEMENT


        Dana J. Boente, United States Attorney for the Eastern District of Virginia; David A.

Layne, Special Assistant United States Attorneys; the defendant, CLAYTON AKEEM

PRESSLEY; and the defendant's counsel have entered into an agreement pursuant to Rule 11 of

the Federal Rules of Criminal Procedure. The terms of the agreement are as follows:

          L    Offense and Maximum Penalties


       The defendant agrees to waive indictment and plead guilty to a two-count criminal

information charging the defendant with Conspiracy to Commit an Offense Against the United

States, to wit. Wire Fraud, in violation of Title 18, United States Code, Section 371; and

Unlawfiil Monetary Transactions, in violation of Title 18, United States Code, Section 1957.

The maximum penalties for count one. Conspiracy to Commit Wire Fraud, are a maximum term

of five (5) years of imprisonment, a fine of $250,000, full restitution, forfeiture of assets as

outlined below, a special assessment, and 3 years of supervised release. The maximum penalties

for count two, Unlawfiil Monetary Transactions, are a maximum term of ten (10) years of

imprisonment, a fine of $250,000, ftill restitution, forfeiture of assets as outlined below, a special

assessment, and 3 years of supervised release. The defendant understands that this supervised
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release term is in addition to any prison term the defendant may receive, and that a violation of a

term of supervised release could result in the defendant being returned to prison for the full term

of supervised release.

       2.      Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty of the charged

offense. The defendant admits the facts set forth in the statement of facts filed with this plea

agreement and agrees that those facts establish guilt of the offense charged beyond a reasonable

doubt. The statement of facts, which is hereby incorporated into this plea agreement, constitutes

a stipulation of facts for purposes of Section IB 1.2(c) of the Sentencing Guidelines.

       3.      Assistance and Advice of Counsel


       The defendant is satisfied that the defendant's attorney has rendered effective assistance.

The defendant understands that by entering into this agreement, defendant surrenders certain

rights as provided in this agreement. The defendant understands that the rights of criminal

defendants include the following:

               a.        the right to plead not guilty and to persist in that plea;

               b.        the right to a jury trial;

               c.        the right to be represented by counsel - and ifnecessary have the court

                         appoint counsel - at trial and at every other stage of the proceedings; and

               d.        the right at trial to confi-ont and cross-examine adverse witnesses, to be

                         protected from compelled self-incrimination, to testify and present

                         evidence, and to compel the attendance of witnesses.

       4.      Role of the Court and the Probation Office


       The defendant understands that the Court has jurisdiction and authority to impose any
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sentence within the statutory maximum described above but that the Court will determine the

defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate of the advisory sentencing

range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

may have received from the defendant's coimsel, the United States, or the Probation Office, is a

prediction, not a promise, and is not binding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker, 543

U.S. 220 (2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

plea based upon the actual sentence.

         The United States and the defendant agree that the defendant has assisted the government

in the investigation and prosecution ofthe defendant's own misconduct by timely notifying

authorities ofthe defendant's intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the government and the Court to allocate

their resoiu-ces efficiently. If the defendant qualifies for a two-level decrease in offense level

pursuant to U.S.S.G. § 3E1.1 (a) and the offense level prior to the operation of that section is a

level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3El.l(b), a motion prior

to, or at the time of, sentencing for an additional one-level decrease in the defendant's offense

level.




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       5.      Waiver of Appeal, FOIA and Privacy Act Rights

       The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (or the manner in

which that sentence was determined) on the groimds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this plea agreement.

This agreement does not affect the rights or obligations of the United States as set forth in 18

U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency of the United States any

records pertaining to the investigation or prosecution of this case, including without limitation

any records that maybe sought under the Freedom of Information Act, 5 U.S.C. § 552, or the

Privacy Act, 5 U.S.C. § 552a.

       6.      Special Assessment

       Before sentencing in this case, the defendant agrees to pay a mandatory special

assessment of $100 per count of conviction for a total special assessment of $200.

       7.      Payment of Monetary Penalties

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613, whatever

monetary penalties are imposed by the Court will be due immediately and subject to immediate

enforcement by the United States as provided for in Section 3613. Furthermore, within 14 days

of a request, the defendant agrees to provide all of the defendant's financial information to the

United States and the Probation Office and, if requested, to participate in a pre-sentencing

debtor's examination and/or complete a financial statement under penalty of perjury. If the
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Court imposes a schedule ofpayments, the defendant understands that the schedule ofpayments

is merely a minimum schedule ofpayments and not the only method, nor a limitation on the

methods, available to the United States to enforce the judgment. If the defendant is incarcerated,

the defendant agrees to voluntarily participate in the Bureau of Prisons' himate Financial

Responsibility Program, regardless of whether the Court specifically directs participation or

imposes a schedule ofpayments.

        8.          Restitution


        Defendant agrees that restitution is mandatory pursuant to 18 U.S.C. §3663A. Defendant

agrees to the entry of a Restitution Order for the full amount of the victims' losses. Pursuant to

18 U.S.C. § 3663A(c)(2), the defendant agrees that an offense listed in § 3663A(c)(l) gave rise

to this plea agreement and as such, victims of the conduct described in the charging instrument,

statement of facts or any related or similar conduct shall be entitled to restitution. The parties

reserve the right to present evidence and arguments concerning the amount and payment terms of

this restitution.


        9.          Immunity from Further Prosecution in this District

        The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia for the specific conduct described in the information or statement of facts.

        10.         Defendant's Cooperation

        The defendant agrees to cooperate fully and tmthfiilly with the United States, and provide

all information known to the defendant regarding any criminal activity as requested by the

government. In that regard:

                    a.    The defendant agrees to testify truthfully and completely at any grand

                          juries, trials or other proceedings.
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               b.     The defendant agrees to be reasonably available for debriefing and pre-

                      trial conferences as the United States may require.

               c.     The defendant agrees to provide all documents, records, writings, or

                      materials of any kind in the defendant's possession or under the

                      defendant's care, custody, or control relating directly or indirectly to all

                      areas of inquiry and investigation.

               d.     The defendant agrees that, at the request of the United States, the

                      defendant will voluntarily submit to polygraph examinations, and that the

                      United States will choose the polygraph examiner and specify the

                      procedures for the examinations.

               e.     The defendant agrees that the Statement of Facts is limited to information

                      to support the plea. The defendant will provide more detailed facts

                      relating to this case during ensuing debriefings.

               f.     The defendant is hereby on notice that the defendant may not violate any

                      federal, state, or local criminal law while cooperating with the

                      government, and that the government will, in its discretion, consider any

                      such violation in evaluating whether to file a motion for a downward

                      departure or reduction of sentence.

               g.     Nothing in this agreement places any obligation on the government to seek

                      the defendant's cooperation or assistance.

       11.     Use of Information Provided by the Defendant Under This Agreement

       The United States will not use any truthful information provided pursuant to this

agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,




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except in any prosecution for a crime of violenceor conspiracy to commit,or aiding and

abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § IB 1.8, no

truthful information that the defendant provides under this agreement will be used in determining

the applicable guideline range, except as provided in Section lBL8(b). Nothing in this plea

agreement, however, restricts the Court's or Probation Officer's access to information and

records in the possession of the United States. Furthermore, nothing in this agreement prevents

the government in any way fi*om prosecuting the defendant should the defendant knowingly

provide false, untruthful, or peijurious information or testimony, or fi-om using information

provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

administrative or judicial. The United States will bring this plea agreement and the fiill extent of

the defendant's cooperation to the attention of other prosecuting offices if requested.

       12.     Prosecution in Other Jurisdictions


       The United States Attorney's Office for the Eastern District ofVirginia will not contact

any other state or federal prosecutingjurisdiction and voluntarily turn over truthful information

that the defendant provides under this agreement to aid a prosecution of the defendant in that

jurisdiction. Should any other prosecuting jurisdiction attempt to use truthful information the

defendant provides pursuant to this agreement against the defendant, the United States

Attorney's Office for the Eastern District of Virginia agrees, upon request, to contact that

jurisdiction and ask that jurisdiction to abide by the immunity provisions of this plea agreement.
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The parties understand that the prosecuting jurisdictionretains the discretion over whetherto use

such information.

        13.      Defendant Must Provide Full, Complete and Truthful Cooperation

       This plea agreement is not conditioned upon charges being brought against any other

individual. This plea agreement is not conditioned upon any outcome in any pending

investigation. This plea agreement is not conditioned upon any result in any future prosecution

which may occur because of the defendant's cooperation. This plea agreement is not

conditioned upon any resuh in any future grand jury presentation or trial involving charges

resulting from this investigation. This plea agreement is conditioned upon the defendant

providing full, complete and truthful cooperation.

        14.      Motion for a Downward Departure

       The parties agree that the United States reserves the right to seek any departure from the

applicable sentencing guidelines, pursuant to Section 5K1.1 of the Sentencing Guidelines and

Policy Statements, or any reduction of sentence pursuant to Rule 35(b) ofthe Federal Rules of

Criminal Procedure, if, in its sole discretion, the United States determines that such a departure

or reduction of sentence is appropriate.

           15.   Forfeiture Agreement

       The defendant understands that the forfeiture of assets is part of the sentence that must be

imposed in this case. The defendant agrees to forfeit all interests in any fraud related asset that

the defendant owns or over which the defendant exercises control, directly or indirectly, as well

as any property that is traceable to, derived from, fungible with, or a substitute for property that

constitutes the proceeds ofhis offense, or facilitating property or property involved in the

offense.
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        The defendant understands that if proceeds of the offense are not available to the United

States to be forfeited, the Court must enter a forfeiture money judgment in the amount of the

proceeds. UnitedStates v. Blackman, 746 F.3d 137 (4th Cir. 2014). The defendant further

agrees to waive all interest in the asset(s) in any administrative or judicial forfeiture proceeding,

whether criminal or civil, state or federal. The defendant agrees to consent to the entry of orders

of forfeiture for such property and waives the requirements of Federal Rules of Criminal

Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,

announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

Defendant admits and agrees that the conduct described in the charging instrument and

Statement of Facts provides a sufficient factual and statutory basis for the forfeiture of the

property sought by the government.

        16.     Waiver of Further Review of Forfeiture


        The defendant further agrees to waive all constitutional and statutory challenges to

forfeiture in any manner (including direct appeal, habeas corpus, or any other means) to any

forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

forfeiture constitutes an excessive fine orpimishment. The defendant also waives any failure by

the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

accepted as required by Rule 1l(b)(l)(J). The defendant agrees to take all steps as requested by

the United States to pass clear title to forfeitable assets to the United States, and to testify

truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all




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 property covered by this agreement is subject to forfeiture as proceeds of illegal conduct or

 substitute assets for property otherwise subject to forfeiture.

         17.    The Defendant's Obligations Regarding Assets Subject to Forfeiture

         Upon request by the government, the defendant agrees to identify all assets in which the

 defendant had any interest or over which the defendant exercises or exercised control, directly or

 indirectly, within the past ilve (5) years. The defendant agrees to take all steps as requested by

 the United States to obtain from any other parties by any lawful means any records of assets

 owned at any time by the defendant. The defendant agrees to undergo any polygraph

 examination the United States may choose to administer concerning such assets and to provide

 and/or consent to the release of the defendant's tax returns for the previous five years.

        18.     Payment of Taxes and Filing of Tax Returns

        The defendant consents to any motion by the United States under Rule 6(e)(3)(E) of the

 Federal Rules of Criminal Procedure, to disclose grand jury material to the Litemal Revenue

 Service for use in computing and collecting the defendant's taxes, interest and penalties, and to

 the civil and forfeiture sections of the United States Attorney's Office for use in identifying

 assets and collecting fines and restitution. The defendant also agrees to file true and correct tax

 returns for the years 2012-2017 within sixty days and to pay all taxes, interest and penalties for

 the years 2012-2017 within a reasonable time in accordance with a plan to be devised by the

 Probation Office. The defendant further agrees to make all books, records and docimients




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 available to the Internal Revenue Service for use in computing defendant's taxes, interest and

 penalties for the years 2012-2017.

         19.    Breach of the Plea Agreement and Remedies

        This agreement is effective when signed by the defendant, the defendant's attorney, and

 an attorney for the United States. The defendant agrees to entry of this plea agreement at the

 date and time scheduled with the Court by the United States (in consultation with the defendant's

 attorney). If the defendant withdraws from this agreement, or commits or attempts to commit

 any additional federal, state or local crimes, or intentionally gives materially false, incomplete, or

 misleading testimony or information, or otherwise violates any provision of this agreement, then:

                a.      The United States will be released from its obligations under this

                        agreement, including any obligation to seek a downward departure or a

                        reduction in sentence. The defendant, however, may not withdraw the

                        guilty plea entered pursuant to this agreement;

                b.      The defendant will be subject to prosecution for any federal criminal

                        violation, including, but not limited to, pequry and obstruction ofjustice,

                        that is not time-barred by the applicable statute of limitations on the date

                        this agreement is signed. Notwithstanding the subsequent expiriation of

                        the statute of limitations, in any such prosecution, the defendant agrees to

                        waive any statute-of-limitations defense; and

                c.      Any prosecution, including the prosecution that is the subject of this

                        agreement, may be premised upon any information provided, or

                        statements made, by the defendant, and all such information, statements,

                        and leads derived therefrom may be used against the defendant. The




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                       defendant waives any right to claim that statements made before or after

                       the date of this agreement, including the statement of facts accompanying

                       this agreement or adopted by the defendant and any other statements made

                       pursuant to this or any other agreement with the United States, should be

                       excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),

                       the Sentencing Guidelines or any other provision of the Constitution or

                       federal law.


       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach of the plea

agreement by a preponderance of the evidence. The proceeding established by this paragraph

does not apply, however, to the decision of the United States whether to file a motion based on

"substantial assistance" as that phrase is used in Rule 35(b) ofthe Federal Rules of Criminal

Procedure and Section 5K1.1 of the Sentencing Guidelines and Policy Statements. The

defendant agrees that the decision whether to file such a motion rests in the sole discretion of the

United States.


       20.       Nature of the Agreement and Modifications

       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this plea agreement, to cause the defendant to
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 plead guilty. Any modification ofthis plea agreement shall be valid only as set forth in writing
 ina supplemental orrevised plea agreement signed byall parties.



                                              Dana J. Boente
                                              United States Attorney


                                      By:
                                              David A. Layne V
                                              Special Assistant United StatesAttorney




        Defendant's Signature: I hereby agree that I have consulted with my attorney and fully
 understand all rights with respect to the pending criminal information. Further, I fiilly
 understand all rights with respect to Title 18, United States Code, Section 3553 andthe
 provisions ofthe Sentencing Guidelines Manual that may apply in my case. I have read this plea
 agreement and carefiilly reviewed every part ofit with my attorney. I understand this agreement
 and voluntarily agree to it.


 Date:



        Defense Counsel Signature: I am counsel for the defendant inthis case. I have fiilly
explained tothe defendant the defendant's rights with respect to the pending information.
Further, Ihave reviewed Title 18, United States Code, Section 3553 and the Sentencing
Guidelines Manual, and I have fiilly explained to the defendant the provisions that may apply in
this case. I have carefiilly reviewed every part ofthis plea agreement with the defendant. To my
knowledge, the defendant's decision to enter into this agreement isan informed and voluntary
one.




Date:
                Bruce C. Sams




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                                            U. S. DEPARTMENT OF JUSTICE
                                         Statement ofSpecial Assessment Account
    This statement reflects your special assessment only. There may be other penalties imposed at sentencing.

                                              ACCOUNT INFORMATION
GRIM. ACTION NO.:                          2:17GR

DEFENDANT'S NAME:                         Clayton Akeem Presslev
PAY THIS AMOUNT:                          $200.00


   INSTRUCTIONS:

               1.     MAKE CHECK ORMONEY ORDER PAYABLE TO:
                        CLERK, U.S. DISTRICT COURT

           2.         PAYMENT MUST REACH THE CLERK'S OFFICE BEFORE YOUR SENTENCING
                      UAIIL


           3.         PAYMENT SHOULD BE SENT TO:


                                            Inperson (9 AM to 4 PM)               By mail:
     Alexandria cases:
                                                                   Clerk, U.S. District Court
                                                                    401 Courthouse Square
                                                                     Alexandria, VA 22314
     Richmond cases:
                                                                   Clerk, U.S. District Court
                                                               701 East Broad Street, Suite 3000
                                                                     Richmond, VA 23219
    Newport News cases;                                            Clerk, U.S. District Court
                                                                    2400 West Ave, Ste 100
                                                                   Newport News, VA 23607

    Norfollt cases:
                                                                  Clerk, U.S. District Court
                                                                      600 Granhy Street      '
                                                                      Norfolk, VA 23510

          4.          INCLUDE DEFENDANT'S NAME ON CHECK OR MONEY ORDER
          5.
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                    A A ViViEN 1
                                      COUPON TO ENSURE PROPER and PROMPT APPLICATION OF




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